      Case: 1:21-cv-05168 Document #: 4 Filed: 09/30/21 Page 1 of 3 PageID #:21




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
___________________________________________
                                           )
UNITED STATES SECURITIES                   )
AND EXCHANGE COMMISSION,                   )
                                           )               Case No. 1:21-cv-05168
                  Plaintiff,               )
           v.                              )
                                           )
KEITH A. WAKEFIELD,                        )
                                           )
                  Defendant.               )
___________________________________________)

             UNITED STATES SECURITIES AND EXCHANGE COMMISSION’S
                       MOTION FOR ENTRY OF JUDGMENT

        Plaintiff United States Securities and Exchange Commission (“SEC”) hereby moves this

Court for entry of judgment as to Defendant Keith A. Wakefield. In support thereof, the SEC

states as follows:

        1.     On September 3, 2021, Defendant Wakefield signed the Consent of Defendant

Keith A. Wakefield, an executed copy of which is attached hereto as Exhibit 1.

        2.     In the Consent, Defendant Wakefield agreed to entry of judgment against him.

Among other things, Defendant Wakefield agreed to the issuance of an injunction restraining

him from violating the federal securities laws. (Ex. 1, ¶ 2(a).) Defendant Wakefield also agreed

that, upon motion of the SEC, the Court will order the Defendant to pay disgorgement with

prejudgment interest and a civil penalty in amounts to be determined by the Court. (Ex. 1,

¶¶ 2(b), 4.)

        3.     Exhibit 2 to this Motion is the agreed Judgment as to Defendant Keith A.

Wakefield. The agreed Judgment reflects a bifurcated settlement. The Judgment includes a

permanent injunction, to be ordered now. The Judgment further contemplates a future
      Case: 1:21-cv-05168 Document #: 4 Filed: 09/30/21 Page 2 of 3 PageID #:22




determination by this Court as to the amounts of disgorgement with prejudgment interest and

civil penalty (following the filing of a motion by the SEC, and the opportunity of Defendant to

be heard on the matter).

       WHEREFORE, Plaintiff United States Securities and Exchange Commission respectfully

requests that the Court grant its Motion; enter the Judgment set forth in Exhibit 2; and grant such

other and further relief as this Court deems just and proper.

Dated: September 30, 2021                     Respectfully submitted,


                                              UNITED STATES SECURITIES AND
                                              EXCHANGE COMMISSION

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     Case: 1:21-cv-05168 Document #: 4 Filed: 09/30/21 Page 3 of 3 PageID #:23




                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on September 30, 2021, a copy of the
foregoing Plaintiff United States Securities and Exchange Commission’s Motion for Entry of
Judgment was served upon the following counsel by email:

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                                                    /s/ Alyssa A. Qualls
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